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AO 245B (Rev. 09/11)(VAED rev. 2)Sheet 1 - Judgment in a Criminal Case                                       IN OPEN COURT




                                                                                                             NOV 2 2 C.3
                                            UNITED STATES DISTRICT COURT
                                                     Eastern District of Virginia                       CLERK. U.S. DISTRICT COURT
                                                                                                           ALEXANDRIA. VIRGINIA
                                                            Alexandria Division

 UNITED STATES OF AMERICA
                                     V.                                   Case Number: l:i9CR232-001


 BRIAN PATRICK BAYNES                                                     USM Number:93463-083
                                                                          Defendant's Attorney: Shannon Quill, Esq.
 Defendant.


                                            JUDGMENT IN A CRIMINAL CASE

   The defendant pleaded guilty to Count One of the Criminal Information.
   Accordingly, the defendant is adjudicated guilty of the following counts involving the indicated offenses.

 Title and Section                        Nature of Offense                         Offense Class         Offense Ended           Count


 18 U.S.C.§ 922(g)(3)                     Unlawful Transport of Firearms, etc.      Felony               June 6,2019              One


   As pronounced on November 22nd, 2019, the defendant is sentenced as provided in pages 2 through 5 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

   Signed this 22nd day of November, 2019.




                                                                             Liam O'Grady
                                                                             United States District Jud'^
                                                                         Liam O'Grady
                                                                         United States District Judge
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          Sheet 3- Probation



Defendant's Name:              BAYNES,BRIAN PATRICK
Case Number:                   1:19CR232-001




                                                               PROBATION

   The defendant is hereby placed on supervised probation for a term of TWO(2)YEARS. This term shall include a
special condition of THIRTY(30)days of intermittent confinement to be served at the direction ofthe U.S. Probation
Office.
   The Probation Office shall provide the defendant with a copy ofthe standard conditions and any special conditions of
Probation.
   The defendant shall not commit another federal, state or local crime.
   The defendant shall not unlawfully possess or use a controlled substance.
   The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
   If this judgment imposes a fine or restitution obligation, it is a condition of Probation that the defendant pay any such
fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this
judgment.




                                   STANDARD CONDITIONS OF PROBATION

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:
1) the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
     first five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation
     officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
     training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer
   any narcotic or other controlled substance or any paraphernalia related to such substances, except as prescribed by a
     physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
     administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
    convicted of a felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view ofthe probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
     enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer for a special agent ofa law enforcement agency
     without the permission ofthe court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.
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         Sheet 3A - Probation


Defendant's Name:               BAYNES,BRIAN PATRICK
Case Number:                    1:19CR232-001




                                    SPECIAL CONDITIONS OF SUPERVISION
While on Probation pursuant to this Judgment, the defendant shall also comply with the following additional special
conditions:



          1.       The defendant must remain drug free and submit to random drug testing. If he tests positive for the
                   presence of drugs, the defendant must satisfactorily participate in, and complete, any inpatient or
                   outpatient drug treatment to which the defendant is directed by the probation officer.

         2.        The defendant shall complete 100 hours ofcommunity service as directed by the probation officer.

         3.        The defendant shall not possess view, access, or otherwise use material that reflects extremist or
                   terroristic views or is deemed to be inappropriate by the U.S. Probation and Pretrial Services Office.

         4.        The defendant shall provide the probation officer access to any requested financial information.
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        Sheet 5- Criminal Monetary Penalties

Defendants Name:            BAYNES,BRIAN PATRICK
Case Number:                I:I9CR232-001




                                           CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.


                                      Count               Assessment               Fine              Restitution
                                        One                     $100.00            $0.00                  $0.00

 TOTALS:                                                        $100.00           $0.00                   $0.00



                                                              FINES
No fines have been imposed in this case.




                                                     RESTITUTION

No restitution has been imposed in this case.
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                        rev. 2)Judgment in a Criminal Case 43 Filed 11/22/19 Page 5 of 5 PageID# 181                Page 5 of5
        Sheet 6- Schedule of Payments

Defendant's Name:           BAYNES,BRIAN PATRICK
Case Number:                1:I9CR232-00I




                                            SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties are due as follows:

The special assessment and fine shall be due in full immediately.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk ofthe Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order:(1) assessment (2) restitution principal (3) restitution interest (4) fine
principal(5)fine interest(6)community restitution(7)penalties and(8)costs, including cost of prosecution and court costs.

Nothing in the court's order shall prohibit the collection ofany judgment, fine, or special assessment by the United States.
